Case 2:00- - -
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IN THE UNITED sTATES DISTRICT couRT M BY D-G;.

FoR THE wESTERN DISTRICT oF TENNESSEE
wEsTERN DIVISIoN 05 JUN 30 PH 3= 56
MARILYN JoHNsoN, and WU§T%U-an
DURAND MARTIN, er al. w OF itt ME
Plaintiffs,

vs. No.: 00 2608-n /

04-2017-D
CITY OF MEMPHIS,

Defendant.
# =\= * =l= =\= =\¢ »1¢ * * =l=

FLORENCE BILLINGSLEY and
AUNDRA SEGREST, et al.,
Plaintiffs,

vs. No.: 04‘2013-D
CITY OF MEMPHIS,
Defendant,

 

ORDER GRANTING
PLAINTIFFS’ UNOPPOSED MOTION AND MEMORANDUM
FOR LEAVE TO FILE A MEMORANDUM IN EXCESS OF TWENTY-PAGES

 

Before the court is plaintiffs’ unopposed motion for leave to tile a memorandum in excess
of twenty-pages in opposition to defendant’s motion for partial summary judgment For good
cause shown, plaintiffs’ motion is GRANTED.

The clerk shall treat as filed on the date received plaintiffs’ memorandum in opposition
to defendant’s motion for partial summary judgment.

so oRDERED this ,?_0 "‘"day of %'¢L, 2005.
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Honorable Bernice Donald
US DISTRICT COURT

